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                                       #:41



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  6 MIRIAM MALDONADO
  7                         UNITED STATES DISTRICT COURT
  8                       CENTRAL DISTRICT OF CALIFORNIA
  9
 10                                                Case No.: 8:24-cv-01294-DOC (DFMx)
      MIRIAM MALDONADO,
 11                                                NOTICE OF SETTLEMENT OF
                   Plaintiff,                      ENTIRE CASE
 12
            vs.
 13
    JAMIE'S MARKET, INC.; CHUNG
 14
    CHO, AS TRUSTEE OF THE
 15 SURVIVOR'S TRUST UNDER THE
    REVOCABLE INTER VIVOS TRUST
 16
    OF CHUNG H CHO AND CHUNG JA
 17 CHO; and DOES 1 to 10,
 18
                   Defendants.
 19
 20         Notice is hereby given that Plaintiff MIRIAM MALDONADO ("Plaintiff")
 21 and Defendants have settled the above-captioned matter as to the entire case. Parties
 22 request that the Court grant thirty (30) days from the date of this filing for Plaintiff
 23 to file dispositional documents in order to afford Parties time to complete settlement.
 24
      DATED: September 3, 2024                     SO. CAL EQUAL ACCESS GROUP
 25
 26                                                      /s/ Jason J. Kim
                                                   JASON J. KIM
 27                                                Attorney for Plaintiff
 28

                                                          NOTICE OF SETTLEMENT OF ENTIRE CASE
